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    8
    9                           UNITED STATES DISTRICT COURT
   10                         CENTRAL DISTRICT OF CALIFORNIA
   11 Y.Y.G.M. SA d.b.a. BRANDY                        Case No. 2:19-cv-04618-RGK (JPRx)
      MELVILLE, a Swiss corporation,                   Judge: Hon. R. Gary Klausner
   12
                   Plaintiff,
   13                                                  DECLARATION OF JAMIE
            vs.                                        GOLDBERG GERSON IN
   14                                                  SUPPORT OF PLAINTIFF
      REDBUBBLE, INC., a Delaware                      Y.Y.G.M. SA D.B.A. BRANDY
   15 corporation,                                     MELVILLE’S MOTION FOR
                                                       PARTIAL SUMMARY JUDGMENT
   16                 Defendant.
                                                       Date: June 1, 2020
   17                                                  Time: 9:00 a.m.
                                                       Crtrm.: 850
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   19                                                  Pre-Trial Conference:    June 15, 2020
                                                       Trial Date:           June 30, 2020
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        1435654.1                                                   Case No. 2:19-cv-04618-RGK (JPRx)
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                          DECLARATION OF JAMIE GOLDBERG GERSON IN SUPPORT OF
         PLAINTIFF Y.Y.G.M. SA D.B.A. BRANDY MELVILLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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    1               I, Jamie Goldberg Gerson, declare and state as follows:
    2               1.    I have firsthand, personal knowledge of the facts set forth below and if
    3 called as a witness could and would competently testify thereto.
    4               2.    I am an expert in the area of online protection of intellectual property. I
    5 have been retained by Y.Y.G.M. SA d.b.a. Brandy Melville (“Brandy Melville”) as
    6 an expert witness in this case.
    7               3.    In connection with that retention, I prepared an expert report outlining
    8 my qualifications and providing my expert opinion. The statements in my expert
    9 report are accurate.
   10               4.    Attached as Exhibit 4 is a true and correct copy of that expert report.
   11               Executed this 1st day of May 2020, at Dallas, Texas.
   12               I declare under penalty of perjury under the laws of the United States of
   13 America that the foregoing is true and correct.
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                                                        Jamie Goldberg Gerson
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        1435654.1                                                   Case No. 2:19-cv-04618-RGK (JPRx)
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                          DECLARATION OF JAMIE GOLDBERG GERSON IN SUPPORT OF
         PLAINTIFF Y.Y.G.M. SA D.B.A. BRANDY MELVILLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
